  Case 3:14-cr-00016-MFU-JCH        Document 558       Filed 09/16/15    Page 1 of 1
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DAN IEL LA M ON T M A TH IS,
SHANTAIM ONIQUE SHELTON ,                       By:H on.Glen E .Conzad
M ERSA D IES LA CHELLE SH ELTON ,               ChiefUnited StatesDistrictJudge
K w ELIU HU RU ,
HA LISIUH U R U ,and
A N TH ON Y DA RN ELL STOK ES,

      Defendants.

      Forthe reasons stated in the accom panying m em orandum opinion,itishereby

                                      O RD ERED

thatthejointmotiontodismisstheindictmentfiledbyDanielM athisandKweliUhul'u
isD EN IED .

      TheClerk isdirected to send copiesofthisorderand the accom panying mem orandum

opinion to al1counselofrecord.

      sx-rsR.:vhis it,bdayofseptember, 2015.



                                                     ChiefUnited States D istrictJudge
